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Pro Se 15 (Rev. 12/16) Complaint for Violation of Civil Rights (Non–Prisoner)



                                        UNITED STATES DISTRICT COURT
                                                                            for the
                                                        __________ District of __________

                                                                  __________ Division

                         MYRIAM ZAYAS
                                                                                )     Case No.                     2:24-cv-00621-LK
                                                                                )                     (to be filled in by the Clerk’s Office)
                                                                                )
                              Plaintiff(s)
(Write the full name of each plaintiff who is filing this complaint.
                                                                                )
                                                                                )     Jury Trial: (check one)   ✔
                                                                                                                u Yes          u No
If the names of all the plaintiffs cannot fit in the space above,
please write “see attached” in the space and attach an additional               )
page with the full list of names.)                                              )
                                  -v-                                           )
                                                                                )
   JUDGE ADRIENNE MCCOY, SYLVIA HOWARD
                                                                                )
                                                                                )
                                                                                )
                             Defendant(s)                                       )
(Write the full name of each defendant who is being sued. If the                )
names of all the defendants cannot fit in the space above, please               )
write “see attached” in the space and attach an additional page
with the full list of names. Do not include addresses here.)



                                  COMPLAINT FOR VIOLATION OF CIVIL RIGHTS
                                            (Non-Prisoner Complaint)


                                                                          NOTICE

    Federal Rules of Civil Procedure 5.2 addresses the privacy and security concerns resulting from public access to
    electronic court files. Under this rule, papers filed with the court should not contain: an individual’s full social
    security number or full birth date; the full name of a person known to be a minor; or a complete financial account
    number. A filing may include only: the last four digits of a social security number; the year of an individual’s
    birth; a minor’s initials; and the last four digits of a financial account number.

    Except as noted in this form, plaintiff need not send exhibits, affidavits, grievance or witness statements, or any
    other materials to the Clerk’s Office with this complaint.

    In order for your complaint to be filed, it must be accompanied by the filing fee or an application to proceed in
    forma pauperis.




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I.        The Parties to This Complaint

          A.         The Plaintiff(s)

                     Provide the information below for each plaintiff named in the complaint. Attach additional pages if
                     needed.
                           Name                                         MYRIAM ZAYAS
                           Address                                      PLEASE DONT PUBLICIZE MY ADDRESS


                                                                                   City               State            Zip Code
                           County
                           Telephone Number
                           E-Mail Address                               mzlegalstuff@gmail.com

          B.         The Defendant(s)

                     Provide the information below for each defendant named in the complaint, whether the defendant is an
                     individual, a government agency, an organization, or a corporation. For an individual defendant,
                     include the person’s job or title (if known) and check whether you are bringing this complaint against
                     them in their individual capacity or official capacity, or both. Attach additional pages if needed.

                     Defendant No. 1
                           Name                                         JUDGE ADRIENNE MCCOY
                           Job or Title (if known)
                           Address
                                                                        SEATTLE                       WA               98101
                                                                                   City               State            Zip Code
                           County
                           Telephone Number
                           E-Mail Address (if known)

                                                                         u Individual capacity   u Official capacity


                     Defendant No. 2
                           Name                                         SYLVIA HOWARD
                           Job or Title (if known)                      CPS SUPERVISER
                           Address

                                                                                   City               State            Zip Code
                           County
                           Telephone Number
                           E-Mail Address (if known)

                                                                         u Individual capacity   u Official capacity




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                     Defendant No. 3
                           Name
                           Job or Title (if known)
                           Address

                                                                                   City               State            Zip Code
                           County
                           Telephone Number
                           E-Mail Address (if known)

                                                                         u Individual capacity   u Official capacity


                     Defendant No. 4
                           Name
                           Job or Title (if known)
                           Address

                                                                                   City               State            Zip Code
                           County
                           Telephone Number
                           E-Mail Address (if known)

                                                                         u Individual capacity   u Official capacity

II.       Basis for Jurisdiction

          Under 42 U.S.C. § 1983, you may sue state or local officials for the “deprivation of any rights, privileges, or
          immunities secured by the Constitution and [federal laws].” Under Bivens v. Six Unknown Named Agents of
          Federal Bureau of Narcotics, 403 U.S. 388 (1971), you may sue federal officials for the violation of certain
          constitutional rights.

          A.         Are you bringing suit against (check all that apply):

                      u Federal officials (a Bivens claim)

                      ✔
                      u State or local officials (a § 1983 claim)

          B.         Section 1983 allows claims alleging the “deprivation of any rights, privileges, or immunities secured by
                     the Constitution and [federal laws].” 42 U.S.C. § 1983. If you are suing under section 1983, what
                     federal constitutional or statutory right(s) do you claim is/are being violated by state or local officials?

                      14TH AMENDMENT SUBSTANTIVE SUE PROCESS FIRST AMENDMENT RIGHT NOT TO SPEAK.




          C.         Plaintiffs suing under Bivens may only recover for the violation of certain constitutional rights. If you
                     are suing under Bivens, what constitutional right(s) do you claim is/are being violated by federal
                     officials?

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          D.         Section 1983 allows defendants to be found liable only when they have acted “under color of any
                     statute, ordinance, regulation, custom, or usage, of any State or Territory or the District of Columbia.”
                     42 U.S.C. § 1983. If you are suing under section 1983, explain how each defendant acted under color
                     of state or local law. If you are suing under Bivens, explain how each defendant acted under color of
                     federal law. Attach additional pages if needed.
                      I could not find anywhere in the law where it says that judges are allowed to take children and hold them
                      hostage to force parents to comply and associate with DCYF. If I am wrong, please do show me
                      because I just don't see it. If this were a possibility, I would have been in jail a long time ago because I
                      never have complied so I don't know where she's coming from or how she thinks she's a police officer or
                      something they are not law enforcement they are an administrative court with no power.

III.     Statement of Claim

         State as briefly as possible the facts of your case. Describe how each defendant was personally involved in the
         alleged wrongful action, along with the dates and locations of all relevant events. You may wish to include
         further details such as the names of other persons involved in the events giving rise to your claims. Do not cite
         any cases or statutes. If more than one claim is asserted, number each claim and write a short and plain
         statement of each claim in a separate paragraph. Attach additional pages if needed.

         A.          Where did the events giving rise to your claim(s) occur?
                      private information




         B.          What date and approximate time did the events giving rise to your claim(s) occur?
                      04/30/2024 and 05/03/2024




         C.          What are the facts underlying your claim(s)? (For example: What happened to you? Who did what?
                     Was anyone else involved? Who else saw what happened?)



                      SEE ATTACHED PAGES
                      I cannot tell you where I got this information from because if I do then that chain of information will no
                      longer be coming to me so all I can tell you is that Sylvia Howard supposedly is the one who instructed
                      this judge to take my children because Sylvia Howard is African American and she hates me and has
                      always hated me for many years because I am white. Sylvia howard is not a party to my case but has in
                      the past attended all of my hearings now i know why.




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IV.      Injuries

         If you sustained injuries related to the events alleged above, describe your injuries and state what medical
         treatment, if any, you required and did or did not receive.

          SUBSTANTIVE DUE PROCESS VIOLATION NOT ASKING FOR CASH




V.       Relief

         State briefly what you want the court to do for you. Make no legal arguments. Do not cite any cases or statutes.
         If requesting money damages, include the amounts of any actual damages and/or punitive damages claimed for
         the acts alleged. Explain the basis for these claims.
          Somebody's gonna have to do injunctive relief because this Court has mandamus jurisdiction. This Court also
          has original jurisdiction over 1983 and she's violating my civil rights to remain silent under the First Amendment
          of the United states constitution I do not have to associate with CPS I do not have to speak to CPS even if I
          signed the court order before that was two years ago that court order expired after six months if you couldn't get
          me to sign it again then I'm sorry tough luck you don't just get to come back two years later and say hey I'm
          going to come take your kids for a court order that's two years old.




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VI.      Certification and Closing

         Under Federal Rule of Civil Procedure 11, by signing below, I certify to the best of my knowledge, information,
         and belief that this complaint: (1) is not being presented for an improper purpose, such as to harass, cause
         unnecessary delay, or needlessly increase the cost of litigation; (2) is supported by existing law or by a
         nonfrivolous argument for extending, modifying, or reversing existing law; (3) the factual contentions have
         evidentiary support or, if specifically so identified, will likely have evidentiary support after a reasonable
         opportunity for further investigation or discovery; and (4) the complaint otherwise complies with the
         requirements of Rule 11.



         A.          For Parties Without an Attorney

                     I agree to provide the Clerk’s Office with any changes to my address where case–related papers may be
                     served. I understand that my failure to keep a current address on file with the Clerk’s Office may result
                     in the dismissal of my case.

                     Date of signing:                       05/03/2024


                     Signature of Plaintiff
                     Printed Name of Plaintiff                myriam zayas


         B.          For Attorneys

                     Date of signing:


                     Signature of Attorney
                     Printed Name of Attorney
                     Bar Number
                     Name of Law Firm
                     Address

                                                                                City                    State       Zip Code

                     Telephone Number
                     E-mail Address




                                                                                                                               Page 6 of 6
